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   9
  10                       UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                             POST-HEARING SUPPLEMENTAL
                  Plaintiff,                     BRIEF IN SUPPORT OF MOTION
  15                                             FOR SUMMARY JUDGMENT ON
           v.                                    COPYRIGHT INVALIDITY
  16
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware
     Corporation; CAN WANG, and                  Date: December 6, 2021
  18 individual, and DOES 1-10, inclusive.,      Time: 10:00 am
                  Defendants.                    Courtroom: 8D
  19
                                                 The Hon. Christina A. Snyder
  20
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28
          POST-HEARING SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT ON
                                      COPYRIGHT INVALIDITY
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION
   3         Plaintiff’s copyright application documents confirm that it knowingly
   4 provided inaccurate authorship information to the Copyright Office to obtain the
   5 group registrations it alleges InterFocus infringed in this action. This Court therefore
   6 should ask the Copyright Office whether it would have refused those group
   7 registrations if it had known the true facts concerning them. If the Copyright Office
   8 says it would have refused them, this Court should rule that Neman Brothers’
   9 registrations are invalid as a matter of law and dismiss this action with prejudice for
  10 the reasons described in InterFocus’ pending motion and below.
  11 II.     PLAINTIFF’S COPYRIGHT APPLICATIONS CONTAIN THE SAME
             INACCURATE AUTHORSHIP INFORMATION AS THE
  12
             COPYRIGHT REGISTRATIONS AT ISSUE.
  13         This Court’s Tentative Ruling (“TR”) stated that “the Court is satisfied that
  14 the Neman Brothers registrations…contain inaccurate information” and that
  15 “Neman Brothers was aware, at the time of application, that listing itself as the only
  16 author for [each work in] …. the three [group] copyright registrations was
  17 inaccurate.” (TR dated December 3, 2021, pp. 24-25.) However, because the Court
  18 was “unable to conclusively determine whether and to what extent inaccurate
  19 information was ‘included on the application for copyright registration’ for the
  20 [group] applications [at issue],” the Court ordered Neman Brothers “to produce the
  21 application materials associated with the copyright applications…” (TR at 25.) This
  22 Court subsequently ordered Neman Brothers to produce those application materials
  23 by December 20, 2021. (Dkt. No. 78.)
  24
             The copyright application documentation Neman Brothers produced pursuant
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       to this Court’s order contains exactly the same inaccurate authorship information as
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       the copyright registrations at issue, which is not surprising since they are essentially
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                                                  1
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                                       COPYRIGHT INVALIDITY
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   1 the same document.1 All three applications identify “Neman Brothers and
   2 Associates” as the sole author of all the works in all three group registrations. See
   3 Neman Brothers’ Ex. 50, Dkt. No. 80-1 p. 7 of 28; Neman Brothers’ Ex. 52, Dkt.
   4 No. 80-1 p. 15 of 28; and Neman Brothers’ Ex. 54, Dkt. No. 80-1 p. 24 of 28; see
   5 also the copyright registrations at Dkt. No. 66-2 Exs. 17, 27 and 33.) The
   6 applications claim this even though, as Yoel Neman admitted in deposition, he knew
   7 each group registration included many works Neman Brothers purchased from third
   8 parties, to which it therefore did not contribute copyrightable expression. (See Reply
   9 in Support of Motion for Summary Judgment, Dkt. Nos. 72 pp. 2-5, citing Y.
  10 Neman deposition admissions, and excerpts from the Declaration of Yoel Neman at
  11 Dkt. No. 66-2.) As this Court’s TR correctly noted, those undisputed facts establish
  12 that “Neman Brothers was aware, at the time of application, that listing itself as the
  13 only author for…. the three copyright registrations was inaccurate.” TR p.25.
  14         This establishes the three conditions the Ninth Circuit has held require this
  15 Court to submit a request to the Register of Copyrights, namely, that (1) Plaintiff’s
  16 certificates of registration contain inaccurate information, as Yoel Neman admitted
  17 and this Court’s tentative ruling correctly noted; (2) the inaccurate information was
  18 included on the applications for copyright registrations at issue, as the application
  19 documents Neman Brothers produced confirm; and (3) the inaccurate information
  20
  21   1
         Under copyright application procedures in effect in 2017 and 2018, and still in
  22   effect today with regard to paper copyright applications, applicants provide specific
       information concerning copyright authorship, ownership, etc. on a prescribed form
  23   and submit it to the Copyright Office with a deposit copy of the work and the filing
       fee. If approved by the Copyright Office after examination, that application becomes
  24   the registration, with the only Copyright Office additions being the copyright
       registration number and effective date of registration dates added to the upper right-
  25   hand corner of the first page, and certain “examined by,” “checked by” and
       “correspondence” information included in the upper right-hand corner of the second
  26   page. That is why, for example,, Yoel Neman’s signature is on the three
       registrations at issue, just as it was on the applications that led to those registrations.
  27   (See Neman Brothers’ Amended Complaint, Dkt. No. 42-1 Exs. 2, 4 and 9. See
       also, https://www.copyright.gov/forms/formva.pdf,, which shows the current
  28   instructions for completing VA copyright application form for paper applications,
       along with a blank form for that purpose.
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                                       COPYRIGHT INVALIDITY
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   1 was included on the application with knowledge that it was inaccurate, as Yoel
   2 Neman’s deposition testimony admitted and as this Court noted in its TR quoted
   3 above. This Court therefore should submit a request to the Register of Copyrights to
   4 advise the Court whether the inaccurate information in the three applications at
   5 issue, if known to the Copyright Office, would have caused it to refuse the three
   6 group registrations at issue. See Unicolors, Inc. v. H&M Hennes & Mauritz, L.P.,
   7 959 F.3d 1194, 1197 (9th Cir. 2020); this Court’s TR p. 23.
   8 III.     NEMAN BROTHERS’ REPEATED “SUPPLEMENTATION”
              ARGUMENT CANNOT DEFEAT SUMMARY JUDGMENT.
   9
              Neman Brother’s re-argument that this Court should not refer the three group
  10
       registrations at issue to the Copyright Office because it can “supplement” them
  11
       (Supp. Brief 2-3) lacks merit for several reasons.
  12
              First, Neman Brothers’ argument has been refuted by the Ninth Circuit Court
  13
       of Appeals, which expressly holds that knowing inaccuracies in copyright
  14
       applications require that the validity issue be referred to the Copyright Office as
  15
       described above. Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194,
  16
       1197 (9th Cir. 2020); Gold Value International Textile, Inc. v. Sanctuary Clothing,
  17
       LLC, 925 F. 3d 1140 (9th Cir. 2019).
  18
              Second, Neman Brothers’ argument ignores its fundamental and knowing
  19
       failure to limit its group registrations to works in which it contributed copyrightable
  20
       expression. That error cannot not be fixed by “supplementation.” Supplementing the
  21
       group registrations to state that Neman Brothers did not contribute copyrightable
  22
       expression to some of the works within them would only make even clearer that
  23
       they never qualified for group registration.
  24
              Third, Neman Brothers’ “supplementation” argument does not attempt to
  25
       address how “supplementing” the group registrations could cure their errors, when
  26
       doing so would also make their invalidity more obvious. For example:
  27
              a) The applications failed to include “the name and nationality or domicile of
  28
                                                 -3-
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                                        COPYRIGHT INVALIDITY
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   1            the author or authors” for each of the third-party created works as required
   2            by 17 U.S.C. § 409(2). “Supplementing” its registrations to add that
   3            information would only make clearer that Neman Brothers included third
   4            party works for which it was not an author, which disqualifies it from the
   5            group registration as described above and in previous briefing.
   6         b) The applications failed to include “a brief statement of how the claimant
   7            obtained ownership of the copyright” of the third party works within them
   8            as required by by17 U.S.C. § 409(5). “Supplementing” the registration to
   9            include such statements would also confirm that the group registrations
  10            included works to which Neman Brothers did not contribute copyrightable
  11            expression as required by applicable regulations.
  12         Fourth, Neman Brothers’ “supplementation” argument improperly asks this
  13 Court to decide an issue Congress and the Ninth Circuit have directed should first be
  14 determined by the Copyright Office as described above. Thus, the Copyright Office,
  15 rather than this Court, should initially decide these issues.
  16         The accurate facts the Copyright Office should have been given in the
  17 applications to allow the Copyright Office to determine whether it would refuse the
  18 group registrations are:
  19         a) Neman Brothers included in each group application works that were
  20            authored by third parties, to which Neman Brothers contributed no
  21            copyrightable expression;
  22         b) Neman Brothers’ intentional failed to identify all authors of all works in
  23            the group applications, which would have revealed that it did not
  24            contribute copyrightable expression to some works within them;
  25         c) Neman Brothers failed to identify which works in the group applications it
  26            acquired by assignment, which also would have revealed that it did not
  27            contribute copyrightable expression to the assigned works;
  28         d) Neman Brothers failed to describe the “work made for hire” status of only
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   1            some of the included individual works, thereby revealing that other works
   2            were not authored by Neman Brothers; and
   3         e) Neman Brothers failed to identify preexisting works, or to provide a brief
   4            general statement of the new material it added to some works, so that the
   5            Copyright Office could determine whether Neman Brothers contributed
   6            copyrightable expression to them.
   7         All of this information is required by the applicable group registration
   8 regulations and/or 17 U.S.C. § 409, and is missing from Neman Brothers’ three
   9 group applications and registrations at issue.
  10 IV.     CONCLUSION.
  11         Neman Brothers’ three copyright registrations at issue should be referred to
  12 the Copyright Office for a determination whether it would have refused those
  13 registrations if it had known the true facts, and following that determination,
  14 summary judgment should be granted in InterFocus’ favor for all the reasons
  15 described above.
  16
  17                                            RIMON, P.C.
  18 Dated: December 30, 2021
  19                                        By: /s/ Mark S. Lee
  20                                            Mark S. Lee
                                                Zheng Liu
  21
                                                Attorneys for Defendants and
  22                                            Counterclaim Plaintiffs
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                                       COPYRIGHT INVALIDITY
